                                          Case 4:15-cv-04543-YGR Document 56 Filed 10/04/16 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        JEANNE STATHAKOS, ET AL.,
                                   7                                                       Case No. 15-cv-04543-YGR
                                                       Plaintiffs,
                                   8
                                                v.                                         ORDER ON DISCOVERY LETTER BRIEF
                                   9                                                       DATED SEPTEMBER 26, 2016
                                        COLUMBIA SPORTSWEAR COMPANY, ET AL.,
                                  10                                                       Re: Dkt. No. 53
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Having considered the parties’ discovery letter brief dated September 26, 2016 (Dkt. No.

                                  14   53), and the parties arguments at the Case Management Conference on October 3, 2016, the Court

                                  15   GRANTS plaintiffs’ request and ORDERS as follows: No later than Wednesday, October 5, 2016,
                                  16   plaintiffs shall provide to defendants a list of twenty-six (26) randomly selected outlet SMU build
                                  17
                                       products. No later than Friday, October 14, 2016, defendants shall produce CAD files, tech
                                  18
                                       sketches, and detailed cost information for those twenty-six (26) outlet SMU builds, the seven (7)
                                  19
                                       outlet SMU build products purchased by plaintiffs, and the thirty-three (33) in-line products on
                                  20

                                  21   which those thirty-three (33) SMU builds were modeled.

                                  22          This Order terminates Docket Number 53.

                                  23          IT IS SO ORDERED.
                                  24
                                       Dated: October 4, 2016
                                  25
                                                                                      ______________________________________
                                  26
                                                                                            YVONNE GONZALEZ ROGERS
                                  27                                                   UNITED STATES DISTRICT COURT JUDGE

                                  28
